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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-24227-CIV-ALTONAGA/Goodman

  JASON MILLER,

         Plaintiff,
  v.

  GIZMODO MEDIA GROUP, LLC, et al.,

        Defendants.
  ________________________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendant, William Menaker’s Motion to

  Dismiss [ECF No. 30], and Defendants, Gizmodo Media Group, LLC and Katherine Krueger’s

  Motion to Dismiss [ECF No. 31], both filed December 6, 2018. Mr. Menaker seeks to dismiss

  Plaintiff, Jason Miller’s First Amended Complaint [ECF No. 5]. Mr. Menaker filed the Motion

  to Dismiss on his own behalf –– Defendants, Gizmodo Media Group, LLC and Katherine M.

  Krueger did not join the Motion. (See Mr. Menaker’s Mot. 20). Instead, Gizmodo Media Group

  and Ms. Krueger seek to dismiss Plaintiff’s Amended Complaint through a separate Motion.

         In filing the separate Motions to Dismiss, Defendants run afoul of the October 24, 2018

  Order [ECF No. 12]. In that Order, the Court expressly required “all Defendants [to] submit a

  single combined response or separate answers within the time allowed for the last served

  Defendant to respond.”    (Id. (alteration and emphasis added)).     Defendants’ Motions are

  evidently neither a “single combined response” nor “separate answers.” (Id.; see also Doe v.

  Vill. Resorts, Ltd., No. 10-CV-80777, 2011 WL 13227870, at *1 (S.D. Fla. May 24, 2011)

  (noting the court is “well within its rights to deny” defendant’s motion to dismiss because the
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  motion was “improper and violate[d] the [c]ourt’s [previous] order . . . . ” (alterations added;

  citations omitted)).

         Accordingly, it is

         ORDERED AND ADJUDGED that the Defendants’ Motions [ECF Nos. 30, 31] are

  DENIED without prejudice. Defendants must comply with the Court’s October 24, 2018

  Order [ECF No. 12] by December 21, 2018 –– the time allowed for the last served Defendant to

  respond.

         DONE AND ORDERED in Miami, Florida, this 6th day of December, 2018.



                                                        _______________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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